

People v Davis (2015 NY Slip Op 01961)





People v Davis


2015 NY Slip Op 01961


Decided on March 11, 2015


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 11, 2015
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

PETER B. SKELOS, J.P.
SANDRA L. SGROI
JOSEPH J. MALTESE
COLLEEN D. DUFFY, JJ.


2013-04405
 (Ind. No. 8216/11)

[*1]The People of the State of New York, respondent,
vMarty Davis, appellant.


Seymour W. James, Jr., New York, N.Y. (Joanne Legano Ross of counsel), for appellant.
Kenneth P. Thompson, District Attorney, Brooklyn, N.Y. (Leonard Joblove and Morgan J. Dennehy of counsel; Gregory Musso on the brief), for respondent.



DECISION &amp; ORDER
Appeal by the defendant from a judgment of the Supreme Court, Kings County (Foley, J.), rendered March 22, 2013, convicting him of criminal possession of a weapon in the third degree, upon his plea of guilty, and imposing sentence. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the judgment is affirmed.
We are satisfied with the sufficiency of the brief filed by the defendant's assigned counsel pursuant to Anders v California (386 US 738). Counsel has informed this Court that the defendant has not authorized counsel to raise any issues related to whether the defendant should have been allowed to withdraw his plea. Upon an independent review of the record, we conclude that there are no remaining nonfrivolous issues which could be raised on the appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see Anders v California, 386 US 738; People v Richardson, 120 AD3d 719; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252).
SKELOS, J.P., SGROI, MALTESE and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








